
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a4669-14.pdf) could not be found on this server.
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/attorneys/assets/opinions/appellate/unpublished/a4569-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4069-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4668-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4769-14.pdf (mistyped character)


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